              Case 8:20-bk-07727-CED        Doc 336     Filed 09/20/22     Page 1 of 5




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov

In re:                                                Chapter 11

SUN STEAKS, LLC,                                      Case No. 8:20-bk-7727-CED

      Debtor.
________________________/

                SUBCHAPTER V TRUSTEE’S MOTION FOR
    ORDER TO SHOW CAUSE WHY SUBPOENAED PARTIES SHOULD NOT BE
   HELD IN CONTEMPT OF COURT FOR FAILURE TO COMPLY WITH ORDER

         Amy Denton Mayer, the duly appointed Subchapter V Trustee (the “Trustee”) for the

bankruptcy estate of Sun Steaks, LLC (the “Debtor”), by and through her undersigned counsel,

requests the entry of an order to show cause why Sun Holdings, Inc., SunCo Restaurants, LLC,

and Sunny Corral Management, LLC (together, the “Subpoena Recipients”) should not be held

in contempt of Court for failure to comply with the Order Granting Subchapter V Trustee’s Motion

to Compel Production of Documents Pursuant to Rule 2004 Subpoenas (Doc. No. 334) (the

“Compel Production Order”) and impose monetary and other appropriate sanctions against the

Subpoena Recipients, and states the following in support:

         1.     On October 16, 2020 (the “Petition Date”), Sun Steaks, LLC (the “Debtor”) filed

with this Court its Voluntary Petition for relief under Chapter 11 of Title 11 of the United States

Code (the “Bankruptcy Code”), and made an election to proceed under Subchapter V pursuant

to the Small Business Reorganization Act of 2019, as amended.

         2.     On October 19, 2020, the United States Trustee filed a Notice of Appointment of

Subchapter V Trustee (Doc. No. 5).
              Case 8:20-bk-07727-CED         Doc 336    Filed 09/20/22    Page 2 of 5




         3.       Pursuant to Section 5.03 of the Debtor’s Second Plan of Liquidation (Doc. No.

195) (the “Plan”) and Section 12 of this Court’s Order Confirming Debtor’s Second Plan of

Liquidation (Doc. No. 237) (the “Confirmation Order”), the Trustee is vested with the authority

to object to claims and pursue causes of action.

         4.       To meet the duties under the Plan, the Subchapter V Trustee served subpoenas

(the “Subpoenas”) under Rule 2004 on the following entities (collectively, the “Subpoena

Recipients”):

                  a.     Sun Holdings, Inc. (Doc. No. 306)
                         c/o Corporate Creations Network Inc., Registered Agent
                         5444 Westheimer, #1000
                         Houston, TX 77056

                  b.     SunCo Restaurants, LLC (Doc. No. 305)
                         c/o Corporate Creations Network Inc., Registered Agent
                         3411 Silverside Road
                         Tatnall Building, Suite 104
                         Wilmington, DE 19810

                  c.     Sunny Corral Management, LLC (Doc. No. 304)
                         c/o Corporate Creations Network Inc., Registered Agent
                         801 US Highway 1
                         North Palm Beach, FL 33408

         5.       The Subpoenas were filed on June 22, 2022 and were properly served on the

respective Subpoena Recipients to whom they were addressed.

         6.       No responses to the Subpoenas were received.

         7.       On August 8, 2022, the Trustee filed her Subchapter V Trustee’s Motion to Compel

Production of Documents Pursuant to Rule 2004 Subpoenas (Doc. No. 329) (the “Compel

Production Motion”).




                                                   2
4894-5701-2532, v. 1
               Case 8:20-bk-07727-CED       Doc 336     Filed 09/20/22     Page 3 of 5




         8.       After notice and a hearing on August 29, 2022, this Court entered its Compel

Production Order, which directed the Subpoena Recipients to and produce documents responsive

to the Subpoenas within fourteen days from the date of the order.

         9.       None of the Subpoena Recipients have responded or produced documents

responsive to the Subpoenas or in compliance with the Compel Production Order.

         10.      The Compel Production Order provides that “The Court reserves jurisdiction on

finding that the Subpoena Recipients are in contempt currently for failing to respond to the

Subpoenas, or will be in contempt if they fail to respond to the Subpoenas as ordered by this Order,

and for the appropriate sanctions, including but not limited to monetary sanctions, for any failure

to respond.” Compel Production Order, ¶ 3.

         11.      The Trustee requests that the Court enter an order to show cause, and absent a

showing of cause by the Subpoena Recipients, impose sanctions against the Subpoena Recipients.

In fashioning sanctions to secure compliance with an order, the Court “ha[s] numerous options,

among them: a coercive daily fine, a compensatory fine, attorneys' fees and expenses….”

Citronelle–Mobile Gathering, Inc. v. Watkins, 943 F.2d 1297, 1304 (11th Cir. 1991). Coercive

sanctions should be designed to, and not any greater than necessary to, ensure compliance. Here,

the Trustee requests that the sanctions include a compensatory fine equal to the fees and expenses

incurred by the Trustee in enforcing compliance with the Subpoenas, and a coercive daily fine of

$1,000 per day against each of the Subpoena Recipients.

         WHEREFORE, the Trustee requests (i) the entry of an order to show cause why the

Subpoena Recipients should not be held in contempt for their failure to respond or produce

documents responsive to the Subpoenas and the Compel Production Order, (ii) set a hearing on the

order to show cause, (iii) if the Court finds that the Subpoena Recipients violated the Compel




                                                 3
4894-5701-2532, v. 1
              Case 8:20-bk-07727-CED       Doc 336      Filed 09/20/22     Page 4 of 5




Production Order, then impose monetary and other appropriate sanctions against the Subpoena

Recipients, and (iv) grant such further relief as this Court deems necessary and just.

DATED September 20, 2022

                                              /s/ Daniel R. Fogarty
                                              Daniel R. Fogarty (FBN 0017532)
                                              Matthew B. Hale (FBN 0110600)
                                              Stichter, Riedel, Blain & Postler, P.A.
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                                              Attorneys for Subchapter V Trustee




                                                 4
4894-5701-2532, v. 1
              Case 8:20-bk-07727-CED      Doc 336     Filed 09/20/22    Page 5 of 5




                                CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on September 20, 2022, a true and correct copy of the foregoing

has been furnished by the Court’s CM/ECF Systems to all parties receiving electronic notice, and

by U.S. Mail to:

 Sun Holdings, Inc.                    Sunny Corral Management, LLC
 c/o Corporate Creations Network Inc., 4515 Lyndon B. Johnson Highway
 Registered Agent                      Dallas, TX 75244
 5444 Westheimer, #1000
 Houston, TX 77056

 SunCo Restaurants, LLC                Sunny Corral Management, LLC
 c/o Corporate Creations Network Inc., c/o Guillermo Perales, Manager
 Registered Agent                      P.O. Box 59924
 3411 Silverside Road                  Dallas, TX 75229-1924
 Tatnall Building, Suite 104
 Wilmington, DE 19810

 Sunny Corral Management, LLC          Sunny Corral Management, LLC
 c/o Corporate Creations Network Inc., c/o Legal Department
 Registered Agent                      P.O. Box 59924
 801 US Highway 1                      Dallas, TX 75229
 North Palm Beach, FL 33408




                                              /s/ Daniel R. Fogarty




                                               5
4894-5701-2532, v. 1
